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                                      STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETT
UNITED STATES OF AMERICA


v.                                        DOCKET NO: 1:18-CR-10391-RGS


DEREK SHEEHAN



                  DEFENDANT’S MOTION FOR REVOCATION OR AMENDMENT


          OF ORDER OF DETENTION AND REQUEST FOR RELEASE ON CONDITIONS


        Now comes the defendant through counsel and pursuant to Title 18 U.S.C. § 3145, respectfully

requests that the Court review the detention order of the Magistrate Judge issued in this case after a

hearing on November 13, 2018; and enter an order releasing him pursuant to conditions. The defendant

proposes certain conditions below. The undersigned submits that these conditions are sufficient to ensure

Mr. Sheehan’s appearance at future Court hearings, events and a possible trial in this case; and

sufficiently address the statutory rebuttable presumptions of risk of flight and danger to the community.


Prior Proceedings:


        The defendant was charged with sexual exploitation of a child in violation of 18 U.S.C. § 2251 in

September, 2018. He was previously the subject of related state court charges and has been held without

bail in state custody on those charges. On October 25, 2018, the defendant was indicted and charged with

three counts of sexual exploitation of a child in violation of 18 U.S.C. § 2251(a) and (e). The government

moved for detention and the Court held a detention hearing on November 13, 2018. The Court ordered

the defendant detained and explained the reasons in a written decision (see attached Order of Detention

Pending Trial). While the defendant remains in state custody on the related state court charges; a U.S.

Marshal detainer has been issued by the United States District Court.
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Biographical Information:


        The undersigned states that the Pre-Trial Services department has reported the following

information to the Court concerning the defendant’s personal background. Mr. Derek Sheehan is a 48

year old citizen of the United States who was born and raised in Massachusetts. Mr. Sheehan has been

married to his wife Nicole for 17 years. They are the parents of three children: Katie age 16, Alyssa age

15 and Ryan age 13. They married in 2001 and have been together since 1996. Derek and his wife have

raised their children in the house they own located at 1 Spring Brook Drive in Norwell. The children

have attended the Norwell public schools. Derek and his wife decided over the past year to re-locate to

Florida. Nicole and the three children are presently living in northeast Florida. The family residence in

Norwell is presently for sale.


        Mr. Sheehan has been gainfully employed his entire adult life. After graduating from Rockland

high school, Derek served four years in the United States Marine Corps and was honorably discharged.

After his military service, Derek has been employed as an IT specialist and made a successful career at

Oracle, Incorporated for the past 20 years.


        The undersigned believes that Mr. Sheehan’s criminal record is minimal and has entries from

when he was young for petty offenses.


        At the commencement of criminal charges in related state court cases, the defendant had been

released on cash bail with Global Positioning System (GPS) monitoring from August 17, 2018 until mid-

September by the Barnstable and Hingham courts. The defendant was in complete compliance with his

release conditions in the month that he was out on bail. Designated exclusion zones were put in place and

Mr. Sheehan did not violate these conditions. On September 17, 2018 the defendant was held without

bail after the Plymouth County District Attorney filed a motion alleging the defendant was dangerous.
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The defendant, with prior counsel, stipulated to the dangerousness request and has been held on the most

recent Hingham court charge since September 17, 2018.


        Argument:


        This Court should release the defendant pursuant to conditions referenced below and appeals the

November 13, 2018 order of the Magistrate Judge detaining him.


        Mr. Sheehan is a good candidate for release on conditions pursuant to traditional factors

enumerated in the federal bail statute. He has significant roots in the community, strong family ties,

history of legitimate employment and little or no criminal record. Title 18 U.S.C. section 3142(b)

mandates pretrial release (“shall order the pretrial release”) on personal recognizance unless the court

determines that “such release will not reasonably assure” the person’s appearance or “will endanger the

safety of any other person or the community.” Even if this Court determines that personal recognizance or

unsecured release will not reasonably assure appearance or will endanger any other person or the

community, 18 U.S.C. section 3142(c) still mandates release subject to certain specified conditions. The

conditions must be the least restrictive necessary, as determined by the court in the exercise of its

discretion, to reasonably assure the person’s appearance and the community’s safety. The release

conditions set by the court does not require a guarantee of appearance or safety. See U.S. v. O’Brien, 895

F.2d 810 (1st Cir. 1990).


        The statute suggests various conditions of release which a court may impose, including given the

court authority to impose, “any other condition that is reasonably necessary to assure the appearance of

the person as required and the safety of any other person and the community.” 18 U.S.C. section

3142(c)(1)(B)(xiv).


         While Mr. Sheehan is facing serious charges, mandatory minimum sentences, and troubling

factual allegations; the undersigned states that suggested conditions of release set forth below will ensure
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his appearance at future Court events and address any concerns about danger to the community. The

defendant’s suggested location for release is his mother’s residence in Rockland, Massachusetts. His

mother, Eileen Cina resides at 23 Midfield Drive in Rockland with her husband Salvatore Cina. The two

live alone in the house and there are no children in the residence. Indeed, there are no children living in

this over 55 year age development. The defendant’s mother is a life-long resident of Massachusetts.


        The undersigned states that the nature and seriousness of the danger to any person or to the

community posed by Mr. Sheehan’s release is minimal due to the manner in which the defendant is

alleged to have committed the crimes alleged in the indictment. Mr. Sheehan’s family will continue to

reside in Florida.


        The undersigned states that Derek Sheehan is not a risk of flight; will not obstruct justice or

threaten a witness; and under the circumstances poses a zero risk of re-offending. See, United States v.

Heckley, 15-mj-3075-KAR, 15-cr-520-DB (United States District Court, District of Massachusetts,

Robertson, M.J., March 30, 2016.)


Suggested Conditions:


        The undersigned suggests the following conditions:


That a cash bond in the amount of $20,000 (twenty thousand dollars) be paid by the defendant

and his family;

That the defendant execute an unsecured bond in the amount of $100,000 (one hundred thousand

dollars);

That the defendant’s mother execute an unsecured bond in the amount of $50,000 (fifty thousand

dollars);
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That the defendant be subject to electronic monitoring and curfew during the pendency of the

case with designated exclusion zones;

That the defendant report in person or by telephone with the Office of Pre Trial Services on a

weekly basis during the pendency of this case;

That the defendant maintain counseling during the pendency of this case;

That the defendant refrain from violating any federal or state laws;

The defendant agrees to not apply for a United States passport while out on release during the

pendency of this case (his previous passport is expired);

That the defendant refrain from any contact with any witness associated with the pending

prosecution against him or any minors;

That the defendant not possess a firearm or other dangerous weapon;

That the defendant not travel outside the State of Massachusetts without seeking permission from

the Court;

And any other further condition the Court believes appropriate to ensure the defendant’s

appearance at trial.

        Conclusion:


        Wherefore, the defendant respectfully requests that the Court review the order of detention

entered by the Magistrate Judge and order that he be released from custody during the pendency of this

matter pursuant to the conditions referenced above and any other conditions that the Court deems

appropriate.


                                                 Respectfully submitted,

                                                 Derek Sheehan,

                                                 by his lawyer,
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Date: November 28, 2018                    /s/William Keefe

                                           William Keefe

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                             CERTIFICATE OF SERVICE



I, William Keefe, hereby certify a copy of the attached Defendant’s Motion for Revocation was
electronically filed with the United States Attorney, United States Attorney’s Office, 1
Courthouse Way, Boston, Ma 02210, today November 28, 2018.



                                                          /s/William Keefe

                                                          William Keefe
